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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

SOUTHWEST AIRLINES CO.,                                    )
                                                           )
                Plaintiff,                                 )
                                                           )
        v.                                                 )       Civil Action No. 5:24-cv-01085-XR
                                                           )
THE CITY OF SAN ANTONIO, TEXAS and                         )
JESUS SAENZ, in his official capacity as                   )
Director of Airports for the City of San                   )
Antonio, Texas                                             )
                                                           )
                Defendants.                                )

                            PLAINTIFF SOUTHWEST AIRLINES CO.’S
                          MOTION FOR PARTIAL SUMMARY JUDGMENT 1

        Plaintiff Southwest Airlines Co. (“Southwest”) files its Motion for Partial Summary

Judgment concerning its claim for declaratory relief.

                                       I.      INTRODUCTION

        The Airline Deregulation Act of 1978 (“ADA”) prevents a political subdivision of the

State, like the City of San Antonio, from enacting or enforcing a provision having the force and

effect of law that relates to the prices, routes, or services of an air carrier. See 49 U.S.C.

§ 41713(b)(1). Southwest sued Defendants seeking a declaration that Defendants’ enactment and

enforcement of the standards in their Gate Assignment Criteria and Worksheets 2 are preempted by

the ADA, and thus, Defendants’ gate assignments for the new terminal at the San Antonio

International Airport (“SAT”) and the Airline Lease and Use Agreements (“AULAs”) that

memorialize the gate assignments are void. Now that the parties have completed preliminary



1
  Southwest seeks summary judgment on its request for declaratory relief only, not on its 42 U.S.C. § 1983 and
promissory estoppel claims.
2
  See Exhibit 1 (Gate Assignment Criteria) and Exhibit 2 (Gate Assignment Worksheets).
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discovery, Southwest has evidence establishing the elements of its declaratory judgment claim and

foreclosing Defendants’ proprietary powers affirmative defense.

         First, the summary judgment evidence establishes that the standards in Defendants’ Gate

Assignment Criteria and Worksheets “relate to” air carrier routes and services. Indeed, the

standards applied by Defendants in the Gate Assignment Criteria and Worksheets expressly

reference international and city-pair “routes,” VIP airline lounges (which Defendants concede are

an airline “service”), and first/business-class cabins (which the Supreme Court has recognized are

“services” under the ADA). Because Delta and American offer, or aspired to offer, the routes and

services Defendants deemed desirable, Defendants rewarded them with extra points in their gating

analysis, while at the same time penalizing Southwest because it did not offer these routes and

services. Defendants’ application of these standards in their Gate Assignment Criteria and

Worksheets easily satisfies the Supreme Court’s broad interpretation of “relating to” in the ADA’s

preemption provision. See Morales v. Trans World Airlines, Inc., 504 U.S. 374, 383 (1992).

         Second, the summary judgment evidence establishes that the standards in Defendants’ Gate

Assignment Criteria and Worksheets are provisions having the force and effect of law. Unlike

contractual commitments voluntarily taken (which do not have the force and effect of law), the

standards in Defendants’ Gate Assignment Criteria and Worksheets are policies Defendants

involuntarily imposed on Southwest. 3 The evidence is undisputed that Southwest did not agree to

the standards in Defendants’ Gate Assignment Criteria and Worksheets, and that Defendants did

not even disclose the standards to Southwest until after Defendants enforced them to exclude

Southwest from the new terminal. As an ordinance, regulation, and the common-law bind parties

irrespective of their agreement, Defendants’ enactment and enforcement of the standards in the


3
 See Am. Airlines v. Wolens, 513 U.S. 219, 229 n.5, (1995) (“[T]he phrase ‘having the force and effect of law’ is
most naturally read to ‘refer to binding standards of conduct that operate irrespective of any private agreement.”).

                                                           2
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Gate Assignment Criteria and Worksheets bind and exclude Southwest from occupying the new

terminal even though Southwest did not agree to the standards or sign the AULAs that ratify

Defendants’ application of the standards. Because the standards in Defendants’ Gate Assignment

Criteria and Worksheets are government-imposed policies that seek to encourage certain airline

routes and services, they have the force and effect of law. See Northwest v. Ginsberg, 572 U.S.

273, 289 (2014).

           Third, Defendants cannot satisfy their burden of showing an entitlement to the “proprietary

powers and rights” affirmative defense in 42 U.S.C. § 41713(b)(3). Defendants contend that

because the City owns the airport, Defendants have unlimited proprietary power to take any action

relating to air carrier prices, routes, and services, even if it is unreasonable, arbitrary, and

discriminatory. See DKT. 58, MOTION TO DISMISS, at p. 9-16. If the Court accepts Defendants’

argument, the proprietary powers exception would swallow the general rule of ADA preemption.

The Fifth Circuit has cautioned against interpreting the proprietary powers exception so broadly.

See American Airlines, Inc. v. DOT, 202 F.3d 788, 807 (5th Cir. 2000).

                                     II.         STATEMENT OF FACTS

A.         The City Makes Its Gating Assignments Based on Standards Directly Related to Air
           Carrier Services and Routes.

           The City is building a beautiful new terminal at SAT. However, the new terminal will not

be large enough to accommodate all the airlines interested in using it. Therefore, the City had to

decide which airlines would be assigned gates in the new terminal, and which airlines would

remain in Terminal A, which Defendant Saenz has described as worthy of demolition. 4

           In May 2024, Defendants notified Southwest of its decision to assign Delta and American

to the new terminal and Southwest to Terminal A. (EX. 4, GATING PRESENTATION). After


4
    See (EX. 3, SAENZ DEPOSITION, 61:17-62:4).

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Defendants disclosed their gate assignments, at Southwest’s request, Defendants circulated a

memorandum summarizing the process they used to make their gating decision. (EX. 1).

Defendants’ Gate Assignment Memorandum states that, when making their gating decision,

Defendants first considered: (1) “whether an airline club was requested”; (2) “whether an airline

operates or commits to operating international routes”; (3) “the airline’s ‘fit’ into San Antonio”;

(4) “the airline’s service, growth, and experience; and (5) “the existence of a written commitment

by airline to city pairs, specific flights, or minimum levels of enplaned passengers.” Id.

         Defendants’ Gate Assignment Memorandum further stated that Defendants used a “Gating

Placement Analysis Worksheet,” which was not attached to the Gate Assignment Memorandum,

to score each airline based on a variety of “relevant factors” and that Defendants ranked each

airline based on their score. Id. The Gate Assignment Memorandum also explained that Defendants

“reviewed and considered certain non-quantifiable considerations,” which included the carriers’

“fit” into San Antonio, the carrier’s desirability of passenger profiles (business passengers versus

leisure passengers), the carrier’s brand position (legacy airlines versus low-cost airlines), the

carriers’ “service, growth, and experience” (airlines that offer first-class cabins versus airlines that

only offer economy cabins), and the carriers’ “aspirations for international flights.” Id. Notably,

Defendant Saenz concedes that airline passenger profiles, airline brand positions, and airline cabin

offerings are inappropriate considerations for airports to consider when making gating decisions.

(EX. 3, SAENZ DEP., 125:14-19; 104:12-16; 123:03-09). 5 Moreover, Defendants’ Executive

Program Manager Dave Brandeburg admits that airline brand positions (i.e., network airlines v.



5
  Ex. 3, SAENZ DEP., 125:14-19 (Q. What significance does the fact that it’s a business traveler have as to the decision
to put Delta into Terminal C, if it does? A. I don’t know. Q. Would that be appropriate? A. No, sir.); 104:12-16 (A.
Do you think that would have been a legitimate consideration for the ESC to consider, whether a carrier was low cost,
ultra low cost, or legacy carrier? A. No, sir.”); 123:03-09 (Q. This says split cabin, and I’m just asking you . . . do you
think it’s appropriate for the City to have decided that American can go to Terminal C, at least in part because it offers
split cabin versus Southwest that offers a single cabin? A. No, sir.”)

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low-cost airlines) have no impact on terminal balancing at the airport. (EX. 5, BRANDEBURG DEP.,

145:19-25). According to Defendants’ Gate Assignment Memorandum, after Defendants

considered these non-quantifiable considerations, Defendants’ gating analysis “then turned to

broad-based terminal load balancing considerations. (EX. 1 (emphasis added)).

       During discovery, Defendants produced the Gating Placement Analysis Worksheets that

are referenced in the Gate Assignment Memorandum. (EX. 2, GATING WORKSHEETS). Defendants’

Gating Placement Analysis Worksheets provide additional explanations of the standards listed in

the Gate Assignment Memorandum that confirm Defendants rewarded and penalized each airline

based on their routes and services. For example, Defendants rewarded American and Delta with

higher scores on “fit into San Antonio” and “service, growth, and experience” because they are

“network carriers,” have “business traveler appeal plus leisure appeal,” offer “split cabin” service,

offer a “top-tier club experience, and because American has a known “commitment” to offer non-

stop service to Washington D.C. Id. In contrast, Defendants deducted points from Southwest’s

scores on “fit into San Antonio” and “service, growth, and experience” because it offers only

single-cabin service, has a “leisure travel product more than business,” has a “different boarding

experience,” and “only seasonal” international service. Id.

       After Defendants tallied each airline’s score in their Gating Placement Analysis

Worksheets, Delta had 31 points, American had 30 points, and Southwest and United had 26

points. (EX. 6, GATING SCORECARD). Defendants then used the point rankings to decide which

airlines would be allocated space in the new terminal. (Ex. 7, GANIER DEP. 58:9-24). Defendants’

allocation of points for a top-tier club experience, international routes, and carrier services was

outcome-determinative because Southwest only received 4-5 less points than Delta and American.

Id.; (EX. 6). Had Defendants’ criteria excluded airline club requests and other factors related to



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routes and services, Southwest would have ranked highest among carriers eligible for placement

in the new terminal. Id.

       In May 2024, Defendants held an Executive Steering Committee (“ESC”) Meeting to

discuss and make a final gating decision. (EX. 8, ESC PRESENTATION). During the meeting,

Executive Program Manager Dave Brandenburg gave a presentation that included a tally of

Defendants’ Gating Placement Analysis Worksheets showing Delta and American with the highest

number of points. Id. at p. 17. At the end of the meeting, the ESC “provided approval to move

forward with the Airline Gating Assignment as presented,” which included American and Delta in

the new Terminal and Southwest in Terminal A. (EX. 9, ESC MINUTES).

B.     San Antonio City Council Ratifies the City’s Gate Assignment Standards By Passing
       An Ordinance Approving the AULAs Despite Southwest’s Objections.

       After obtaining ESC approval, Defendants proceeded to brief members of City Council on

their gate assignments and the AULAs. (EX. 10, SPEAKING POINTS FOR CITY COUNCIL BRIEFINGS).

Defendants’ Speaking Points to City Council make clear that the AULA “is heavily regulated by

the Feds,” requires City Council approval, and is “one of the major tools used at commercial

airports throughout the United States to set the rates and regulations.” (Id. at 1, 3). Defendants

presented the AULA (which included Defendants’ gate assignments) to City Council for a vote on

Ordinance 2024-09-12-0681 in September 2024. (EX. 11, ORDINANCE PACKET FOR COUNCIL at 3).

The Council unanimously approved the Ordinance. (EX. 12, ORDINANCE, at 1-3).

                              III.     STANDARD OF REVIEW

       Summary judgment is warranted when “there is no genuine dispute as to any material fact,”

and only questions of law remain. Fed. R. Civ. P. 56(a). “The movant bears the burden of

identifying those portions of the record it believes demonstrate the absence of a genuine issue of

material fact.” Triple Tee Golf, Inc. v. Nike, Inc., 485 F.3d 253, 261 (5th Cir. 2007). Once a movant

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submits a properly supported motion, the burden shifts to the non-movant to show that the Court

should not grant the motion. Celotex Corp. v. Catrett, 477 U.S. 317, 321-25 (1986). The non-

movant’s burden “is not satisfied with some metaphysical doubt as to the material facts, by

conclusory allegations, by unsubstantial assertions, or by only a scintilla of evidence.” Willis v.

Roche Biomedical Labs, Inc., 61 F.3d 313, 315 (5th Cir. 1995).

                                  IV.      LEGAL ANALYSIS

A.     The Summary Judgment Evidence Establishes that the ADA Preempts Defendants’
       Gate Assignments.

       Before the ADA, the Federal Aviation Act of 1958 employed the Civil Aeronautics Board

to regulate the interstate airline industry. “Pursuant to this authority, the Board closely regulated

air carriers, controlling, among other things, routes, rates, and services.” Northwest, Inc. v.

Ginsberg, 572 U.S. 273, 289 (2014). In 1978, Congress enacted the ADA to promote efficiency,

innovation, and low prices in the airline industry through “maximum reliance on competitive

market forces and on actual and potential competition.” See 49 U.S.C. §§ 40101(a)(6), (12)(A).

To ensure that states and localities “would not undo federal deregulation with regulation of their

own,” the ADA includes a preemption clause, which states that a state and a political subdivision

of a state “may not enact or enforce a law, regulation, or other provision having the force and effect

of law related to a price, route, or service of an air carrier….” Id. at 41713(b)(1). The ADA’s

preemption provision, however, does not limit a state or locality “from carrying out its proprietary

powers and rights.” Id. at 41713(b)(3).

       Therefore, to prevail on this Motion, Southwest must establish that: (1) the standards in

Defendants’ Gate Assignment Criteria and Worksheets are provisions having the force and effect

of law; (2) the standards in Defendants’ Gate Assignment Criteria and Worksheets “relate to” air

carrier routes and/or services; and (3) Defendants are unable to meet their burden of establishing

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an entitlement to the proprietary powers affirmative defense. Southwest satisfies this burden.

       1.      The Summary Judgment Evidence Establishes that Defendants’ Gate
               Assignment Standards Are Provisions Having the Force and Effect of Law.

       When the ADA was first enacted in 1978, its preemption clause expressly applied to

“rule[s] and standard[s]” in addition to laws and regulations. See Northwest, 572 U.S. at 282.

Although “rules and standards” are not mentioned in the current version of the statute, the Supreme

Court has held that “this omission is the result of recodification that was not meant to affect the

provision’s meaning.” Id. “Congress made it clear that this recodification did not effect any

‘substantive change.’” Id. Therefore, the ADA’s preemption provision is not limited to laws

enacted by a legislative body and regulations issued by a state agency. Id. The ADA’s preemption

clause also applies to other rules and standards that have the “force and effect of law.” Id. at 283.

       A provision has the “force and effect of law” if it is an official, government-imposed policy

prescribing binding standards of conduct. Id. For example, in Northwest, the Supreme Court held

that the ADA preempted a state common-law claim because the common law is a standard imposed

on the parties without their agreement and “the ADA’s deregulatory aim can be undermined just

as surely by a state common-law rule as it can by a state statute and regulation.” Id. In contrast to

government-imposed policies, contractual commitments voluntarily undertaken generally do not

have the “force and effect of law.” Wolens, 513 U.S. at 219. The Fifth Circuit, however, has held

that even contractual commitments in an airline use agreement are preempted by the ADA when

they are “an impermissible attempt to regulate in an area where the federal government has

preempted state regulation.” American Airlines, Inc. v. DOT, 202 F.3d 788, 811 (5th Cir. 2000).

       Here, the standards in Defendants’ Gate Assignment Criteria and Worksheets are not

“contractual commitments voluntarily undertaken” by Southwest; indeed, Defendants did not

disclose the standards until after they made their gating decision. (EX. 13, 2024_6_20 GARNIER

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EMAIL). Unlike in Wolens, where American Airlines was claiming that the ADA preempted the

terms of its own voluntary frequent flyer program, Southwest is claiming that the ADA preempts

the standards in Defendants’ Gate Assignment Criteria and Worksheets, which were involuntarily

imposed on Southwest by Defendants. Id. Although Southwest has refused to sign the AULAs that

memorialize Defendants’ gating decision, Southwest still suffers from the “official government-

imposed policies” in Defendants’ Gate Assignment Criteria and Worksheets. (Id.; see also EXS.

1-2, 4, 6, & 12).

       The standards in Defendants’ Gate Assignment Criteria and Worksheets regulate airline

routes and services just as surely as a state statute or regulation does. The Fifth Circuit has

explained that “[s]tates have methods of influencing private conduct unrelated to the state’s

proprietary functions—and thus potentially disrupting a congressional plan—at their disposal that

extend beyond traditional overt regulation.” Cardinal Towing & Auto Repair, Inc. v. City of

Bedford, 180 F.3d 686, 691 (5th Cir. 1999). One such method is deployment of a state’s power in

a manner calculated to encourage or discourage such private behavior. Id. Therefore, the Fifth

Circuit noted that “attempts by government entities to punish . . . practices they disfavor by

withholding contract work have been found preempted ….” Id. at 692.

       The standards in Defendants’ Gate Assignment Criteria and Worksheets encouraged airline

services and routes Defendants preferred—VIP lounges, appeal to business passengers, first-

class/business cabins, and international routes—by awarding Delta and American extra points

because they offer such services and routes, and discouraged certain airline services Defendants

dislike—appeal to leisure passengers, single-class cabins, and different boarding experience—by

deducting points from Southwest for such services. (EXS. 1, 2, 4, 6). Notably, the standards in

Defendants’ Gate Assignment Criteria and Worksheets did not just in theory encourage certain



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luxury airline services; they actually encouraged and persuaded Delta to build and operate a

SkyClub lounge in the new terminal at SAT. (EX. 15).

       Defendants also considered the brand position of Delta, American, and Southwest—

namely, whether they were legacy carriers or low-cost carriers. (EX. 2). Illustrating the

inappropriateness of Defendants’ evaluation standards, Defendant Saenz testified that it would be

inappropriate to consider these factors when making a gating decision. (EX. 3, SAENZ DEP., 125:14-

19; 104:12-16; 123:03-09). Moreover, Executive Program Manager Dave Brandenburg testified

that the brand position of an airline (i.e., whether the airline is a network carrier, an ultra low-cost

carrier, a start-up carrier, etc.) has nothing to do with load balancing at the airport. (EX. 5,

BRANDENBURG DEP., 145:19-25).

       The summary judgment evidence confirms that the standards in Defendants’ Gate

Assignment Criteria and Worksheets are nothing more than regulatory acts deployed by

Defendants “in a manner calculated to encourage or discourage” the behavior of air carriers at

SAT. See Cardinal, 180 F.3d. at 691. Because the standards in Defendants’ Gate Assignment

Criteria and Worksheets are “state-imposed regulation of air carriers” in an area where the federal

government has preempted state regulation and are not “contract terms set by the parties

themselves,” they have the force and effect of law. See Wolens, 513 U.S. at 222; see American

Airlines, 202 F.3d at 811.

       2.      The Summary Judgment Evidence Establishes that Defendants’ Gate
               Assignment Standards Relate to Air Carrier Routes and Services.

       Southwest can also satisfy its burden of establishing that Defendants’ Gate Assignment

Standards “relate to” air carrier routes and services. The Supreme Court has interpreted “related

to” in the ADA’s preemption provision broadly and held that a law, regulation, or provision is

“related to” a price, route or service if it has “[1] a connection with, or [2] reference to” a price,

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route or service. Morales, 504 U.S. at 384; Wolens, 513 U.S. at 223. The Supreme Court has held,

for example, that cabin upgrades from economy to first class are “services” under the ADA.

Wolens, 513 U.S. at 226.

         Here, the standards in Defendants’ Gate Assignment Criteria and Worksheet have an

obvious connection with air carrier routes and services because they expressly reference

international and city-pair “routes,” VIP airline lounges (which Defendants concede are an airline

“service”), 6 and first/business-class cabins (which the Supreme Court has held are “services” under

the ADA). 7 (EXS. 1-2, 4, & 6). Moreover, on their face, the standards reward American and Delta

with extra points because they offer certain luxury services and aspire to offer certain routes, and

punish Southwest by deducting points because it does not offer these services or routes. Id.

Defendants’ Gate Assignment Worksheets also demonstrate that air carrier routes and services

were dispositive in Defendants’ gate assignments. (EX. 2, 4 & 6). Out of 40 possible points,

America, Delta, and United each received seven points automatically because they requested a

club, while Southwest received zero. Id. This deduction alone determined Southwest’s fate; if

Defendants had not assigned 7 points to American and Delta based on their VIP club requests,

Southwest would have outscored every other airline. Id. Because the standards in Defendants’ Gate

Assignment Criteria and Worksheets plainly relate to air carrier services and routes, Southwest

satisfies the second element of its ADA preemption claim.




6
  See, e.g., Ex. 3, Saenz Dep. 87:7-9 (Q: “Would you agree with me that airline clubs are a service that an airline offers
to passengers?” A: “Yes, sir.”); Ex. 14, O’Krongley Dep. 77:11-78:3) (Q: “And you would agree – agree with me that
Delta’s Sky Club is a service that Delta provides to some of its passengers?” A: “Yes.”).
7
  See Am. Airlines v. Wolens, 513 U.S. 219, 226 (holding that “higher service categories” like flight upgrades are
connected to airline services).

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        3.       Defendants Cannot Meet Their Burden of Establishing Their Entitlement to
                 the Proprietary Powers Affirmative Defense.

        Defendants have argued that, even if their Gate Assignment Standards have “the force and

effect of law” and “relate to” air carrier routes and services, they are still not preempted by the

ADA because of the proprietary powers and rights exception in 49 U.S.C. § 41713(b)(3). See DKT.

NO. 58, MOTION TO DISMISS at pp. 9-16.

        As the moving party, Southwest bears the burden of proving that no genuine issues of

material fact exist. Latimer v. SmithKline & French Labs., 919 F.2d 301, 303 (5th Cir. 1990).

However, because Defendants bear the burden of demonstrating their entitlement to the proprietary

powers affirmative defense at trial, 8 Southwest need not support its motion with evidence negating

Defendants’ proprietary powers affirmative defense. Celetox, 477 U.S. at 323-24. Rather,

Southwest satisfies its burden by pointing to the mere absence of evidence supporting Defendants’

proprietary powers affirmative defense. Id. Defendants must then point to specific evidence in the

record and articulate precisely how that evidence supports their proprietary powers affirmative

defense. Ragas v. Tenn. Gas. Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998). To meet their burden,

Defendants must produce evidence such that a jury could reasonably base a verdict in Defendants’

favor. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). If Defendants are unable to make

such a showing, the court must grant summary judgment. Little v. Liquid Air Corp., 37 F.3d 1069,

1075 (5th Cir. 1994). Defendants cannot meet this burden.

        Section 41713(b)(3) states that the ADA’s preemption provision does not limit a political

subdivision of a State “from carrying out its proprietary powers and rights.” Although the statute

does not define “proprietary powers and rights,” the exception originates from an “airport



8
  See EEOC v. E. Airlines, 645 F.2d 69, 69 (5th Cir. 1981) (“The one claiming the benefits of an exception to a
statutory prohibition has the burden of proving the applicability of that exception.”).

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operator’s potential liability for—and, thus, right to mitigate—noise damage” and other potential

sources of liability to its neighbors in its capacity as a landowner. 9 Therefore, courts have generally

limited the proprietary powers exception to “reasonable rules pertaining to the permissible level

of noise or other dangers which can be caused by aircraft using the airport.” See Western Air Lines,

Inc. v. Port. Auth. of NY & NJ, 658 F. Supp. 952, 957. (S.D.N.Y. 1986); Am. Airlines, 202 F.3d at

806 (stating “local proprietors play an ‘extremely limited’ role in the regulation of aviation.”).

         Defendants contend that the proprietary powers exception is broad enough to cover their

application of gating standards that directly reflect their preference for certain air carrier routes

and services. According to Defendants, because the City owns the airport, the proprietary powers

exception necessarily permits Defendants to take any action whatsoever relating to airline prices,

routes, and services, even if the action is unreasonable, arbitrary, and discriminatory. If the Court

accepts Defendants’ argument, the proprietary powers exception would swallow the ADA’s

general preemption rule because every government-owned airport could directly regulate airline

prices, routes, and services under the guise of addressing some local concern. The Fifth Circuit has

cautioned against interpreting the proprietary powers and rights exception so broadly. See Am.

Airlines, 202 F.3d at 807 (“We fear that under the rationale of Arapahoe, virtually any regional

regulation enacted by a proprietor would fall within the proprietary powers exception. This would

expand the regulatory role of municipal owners far beyond the ‘extremely limited role’ envisioned

by the ADA.’”).

         The proprietary powers exception does not apply just because, as Defendants suggest, the

City owns the airport. Instead, the proprietary powers exception only applies if, when enacting and


9
  See Friends of the E. Hampton Airport, Inc. v. Town of E. Hampton, 841 F.3d 133, 149 (2d Cir. 2016); San Diego
Unified Port Dist. v. Gianturco, 651 F.2d 1306, 1316-17 (9th Cir. 1981) (“Since airport proprietors bear monetary
liability for excessive aircraft noise . . . , fairness dictates that they must also have power to insulate themselves from
that liability.”).

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enforcing the standards in Defendants’ Gate Assignment Criteria and Worksheets, the City was

addressing some local concern at the airport that falls within the proprietary powers exception, and

was not seeking to advance a general societal goal. See Cardinal Towing, 180 F.3d at 692 (“Courts

have found preemption when government entities seek to advance general societal goals rather

than narrow proprietary interests through the use of their contracting power.”). As discussed

below, the standards in Defendants’ Gate Assignment Criteria and Worksheets were not limited to

addressing local concerns that fall within the purpose of the proprietary powers exception, but

instead furthered Defendants’ interest in encouraging luxury airline services and certain routes. As

a result, Defendants cannot meet their burden of establishing their entitlement to the proprietary

powers affirmative defense as a matter of law. See id.

       Defendants claim that the goal of its gate assignment analysis was to achieve “balancing

of demand upon the facilities across all terminals, including the curbside facilities and baggage

handling system, to prevent overloading of those facilities.” See DKT. 11-2, O’KRONGLEY

DECLARATION at ¶ 8. Defendants further claim that Master Architect Corgan recommended that

Delta and American be assigned to the new terminal, and that Southwest be assigned to Terminal

A, based on load balancing considerations, and that Defendants adopted Corgan’s gating

recommendation. Id. at ¶¶7, 12, 33; (EX. 4; EX. 12 at p. 133 (EXHIBIT G-1.3)). However, the

evidence directly refutes Defendants’ explanation of the goal and reasons for their gate assignment

analysis. For example, Corgan’s Principal Architect John Trupiano testified that, contrary to

Defendants’ claims, Corgan did not recommend that Delta and American should be in Terminal

C:




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(EX. 16, TRUPIANO DEP., 190:4-6). In light of Mr. Trupiano’s testimony, a jury could not

reasonably base a verdict in Defendants’ favor. See Anderson, 477 U.S. at 248.

       Moreover, contrary to Defendants’ claim, it is undisputed that the standards in Defendants’

Gate Assignment Criteria and Worksheets were not limited to load balancing. Defendants’

standards award and deduct points based on airline brand positions—namely, whether the airline

is a network or low-cost carrier. (EXs. 2, 6). Executive Program Manager Dave Brandenburg

testified, however, that an airline’s brand position has nothing to do with load balancing. (EX. 5,,

145:19-25). Furthermore, when asked why American received the maximum number of points for

its “fit into SAT,” Airport Assistant Director of Finance and Administration Michael Garnier

stated, “They have the split cabin, they offer the first class, they go to major hubs that have

international connections.” (EX. 7, 59:14-21). These considerations extend far beyond Defendants’

purported proprietary “load balancing” concerns, and instead further Defendants’ general societal

goal of obtaining certain routes and luxury services in the new terminal that Defendants deem

desirable. Therefore, Defendants cannot show that the standards in their Gate Assignment Criteria

and Worksheets are limited to addressing their purported local interest, and thus, cannot

demonstrate their entitlement to the proprietary powers affirmative defense.

       4.      Even if the Proprietary Powers Exception Applies, Defendants Cannot
               Meet Their Burden of Showing that Their Gating Standards Were
               Reasonable, Non-Arbitrary, and Non-Discriminatory

       “In defining the permissible scope of a proprietor’s power to regulate under § 41713(b)(3),

federal courts have repeatedly held that an airport proprietor can issue only ‘reasonable,

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nonarbitrary, and nondiscriminatory rules that advance the local interest.’” Am. Airlines, 202 F.3d

at 806 (citing Nat’l Helicopter Corp. of Am. v. City of N.Y., 137 F.3d 81, 87 (2d Cir. 1998); British

Airways Bd. v. Port Auth. of N.Y., 558 F.2d 75, 81 (2d Cir. 1977)). As the Tenth Circuit has

succinctly held, a local government law can only get past preemption “if it is an exercise of

proprietary powers” and if “such exercise is reasonable, nondiscriminatory, nonburdensome and

not in conflict with the Airline Deregulation Act, and thus exempted from preemption by 49 U.S.C.

§ 41713(b)(3).” Arapahoe Cty., 242 F.3d at 1222; see also City & County of San Francisco v. FAA,

942 F.2d 1391, 1395 (9th Cir. 1991), cert. denied, 503 U.S. 983 (1992). The undisputed facts prove

the standards in Defendants’ Gate Assignment Criteria and Worksheets are unreasonable,

arbitrary, and discriminatory.

       Among other things, the standards in Defendants’ Gate Assignment Criteria and

Worksheets consider whether an airline caters to business or leisure passengers, whether an airline

is a legacy or low-cost carrier, and whether an airline offers first/business-class cabins. (EXS. 1-2).

Defendant Saenz concedes that whether an airline is a legacy or low-cost carrier is not a legitimate

consideration when determining gate assignments:




(EX. 3, 104:12-16). Defendant Saenz also admits that it would not be appropriate for an airport to

consider whether an airline caters to business or leisure travelers or offers first-class cabins when

making gating assignments. (Id. at 125:14-19; 123:03-09). Moreover, Executive Program Manager


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Brandenburg acknowledges that airline brand positions have nothing to do with load balancing.

(EX. 5, 145:19-25). Because the summary judgment evidence conclusively establishes that these

standards in Defendants’ Gate Assignment Criteria and Worksheets are illegitimate and

inappropriate, Defendants cannot create a fact issue that the standards are limited to reasonable,

non-arbitrary, and non-discriminatory rules related to a legitimate proprietary concern.

       5.      Because the ADA Preempts Defendants’ Gate Assignment Standards, the
               Court Should Enter a Declaration Declaring the AULAs Void As a Matter of
               Law.

       Because Defendants’ Gate Assignment Standards are preempted by the ADA as a matter

of law, this Court should enter an order that declares, pursuant to the Declaratory Judgment Act,

the standards in Defendants’ Gate Assignment Criteria and Worksheets, the resulting AULAs

implemented to “govern the airport/airline business relationship (rates and charges),” and

Ordinance 2024-09-12-0681 are void. (EX. 11 at 3); Morales, 504 U.S. at 391 (affirming lower

court injunctive and declaratory relief following determination of preemption); Snook v. City of

Mo. City, 2003 U.S. Dist. LEXIS 27256, at *73 (S.D. Tex. 2003) (after finding preemption, issuing

declaratory judgment that ordinance has no force and effect and further ordering the city to provide

the plaintiff with legally-compliant application); Sw. Bell Tel. Co. v. Pub. Util. Com., 812 F. Supp.

706, 713 (W.D. Tex. 1993) (after finding FCC preemption, declaring utility regulations void). In

American Airlines, the Fifth Circuit found the underlying contract was preempted by the ADA and

affirmed a DOT Declaratory Order forbidding Fort Worth and Dallas from enforcing the

preempted contract. Am. Airlines, Inc., 202 F.3d at 795. This Court, similarly, should issue a

declaratory judgment that the standards in Defendants’ Gate Assignment Criteria and Worksheets,

the AULAs, and Ordinance 2024-09-12-0681 are void because they are preempted by the ADA.




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                                        CONCLUSION

       Southwest respectfully requests that this Court grant Southwest’s Motion and issue a

declaratory judgment declaring Defendants’ Gate Criteria and Worksheets, the AULAs, and

Ordinance 2024-09-12-0681 void. Southwest also requests any other relief to which it is entitled.

                                             Respectfully Submitted,


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                                CERTIFICATE OF SERVICE
        I hereby certify that on April 8, 2025, I caused a true and accurate copy of this document
to be served on all counsel by filing it through the court’s electronic filing system
                                                    /s/ Lawrence Morales II
                                                    Lawrence Morales II


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